                                      United States Bankruptcy Court
                                     Northern District of California
In re:                                                                                  Case No. 13-41687-CN
Eric Robert Green                                                                       Chapter 13
Kathryn Kaye Green
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0971-4           User: lblue                  Page 1 of 2                   Date Rcvd: Apr 03, 2018
                               Form ID: pdfntcal            Total Noticed: 44


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 05, 2018.
db/jdb         +Eric Robert Green,    Kathryn Kaye Green,     724 Shumardi Oak Court,     Brentwood, CA 94513-4638
smg           ++CALIFORNIA STATE BOARD OF EQUALIZATION,      ACCOUNT REFERENCE GROUP MIC 29,     P O BOX 942879,
                 SACRAMENTO CA 94279-0029
               (address filed with court: State Board of Equalization,        Collection Dept.,    P.O. Box 942879,
                 Sacramento, CA 94279)
smg            +Labor Commissioner,     1515 Clay St.,    Room 801,    Oakland, CA 94612-1463
cr              ECAST SETTLEMENT CORPORATION,     PO BOX 28136,     NEW YORK, NY 10087-8136
cr             +Wells Fargo Bank, N.A.,     MAC X2303-01A,    1 Home Campus,    Des Moines, IA 50328-0001
cr             +Wells Fargo Bank, N.A.,,     Pite Duncan, LLP,    c/o Catherine T. Vinh,
                 4375 Jutland Drive, Suite 200,     P.O. Box 17933,     San Diego, CA 92177-7921
13325848        AMERICAN EXPRESS BANK, FSB,     C/O BECKET AND LEE LLP,     POB 3001,    MALVERN, PA 19355-0701
13162386       +Aes/suntrust Bank,    Po Box 2461,     Harrisburg, PA 17105-2461
13162387       +American Express,    American Express Special Research,      Po Box 981540,
                 El Paso, TX 79998-1540
13162389      ++BANK OF AMERICA,    PO BOX 982238,     EL PASO TX 79998-2238
               (address filed with court: Bank Of America,       Attention: Recovery Department,
                 4161 Peidmont Pkwy.,     Greensboro, NC 27410)
13162388        Bank Of America,    4060 Ogletown/Stanton Rd,     Newark, DE 19713
13162390       +Barclays Bank Delaware,     Attention: Bankruptcy,     Po Box 1337,    Philadelphia, PA 19105
13162396      ++CITIBANK,    PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Citibank Usa,       Citicorp Credit Services/Attn: Centraliz,
                 Po Box 20507,    Kansas City, MO 64195)
13162391       +Cap One,    Po Box 30253,    Salt Lake City, UT 84130-0253
13162392       +Capital 1 Bank,    Attn: Bankruptcy Dept.,     Po Box 30285,    Salt Lake City, UT 84130-0285
13162393        Capital One,    P.O Box 60024,    City Of Industry, CA 91716-0024
13162395       +Chase,    Po Box 15298,    Wilmington, DE 19850-5298
13234961        FIA CARD SERVICES, N.A.,     4161 Piedmont Parkway,     NC4 105 03 14,    Greensboro, NC 27410
13162401       +Home Deport Credit SVC,     PO Box 6926,    The Lakes, NV 88901-6926
13162405       +Sears/cbna,    Po Box 6282,    Sioux Falls, SD 57117-6282
13329078       +Suntrust,    American Education Services,     PO Box 8183,    Harrisburg, PA 17105-8183
13162407        Wachovia Mortgage/World Savings and Loan,      Attn: Bankruptcy Dept.(T7419-015),     Po Box 659558,
                 San Antonio, TX 78265
13269902       +Wells Fargo Bank NA,     AKA: Wachovia Mortgage, a division of We,      Attn: Bankruptcy Department,
                 4101 Wiseman Blvd,     MAC# T7416-023,    San Antonio, TX 78251-4200
14099414       +Wells Fargo Bank, N.A.,     1 Home Campus,    Des Moines, IA 50328-0001
14099413       +Wells Fargo Bank, N.A.,     PO Box 31557,    Billings, MT 59107-1557
13287726       +Wells Fargo Bank, N.A.,     AKA: Wachovia Mortgage, a division of,
                 Wells Fargo Attn: Bankruptcy Department,      4101 Wiseman Blvd,     MAC# T7416-023,
                 San Antonio, TX 78251-4200
13291108        eCAST Settlement Corporation,     POB 29262,    New York NY 10087-9262

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: itcdbg@edd.ca.gov Apr 04 2018 02:37:24        CA Employment Development Dept.,
                 Bankruptcy Group MIC 92E,    P.O. Box 826880,    Sacramento, CA 94280-0001
smg             E-mail/Text: BKBNCNotices@ftb.ca.gov Apr 04 2018 02:39:16        CA Franchise Tax Board,
                 Special Procedures Bankruptcy Unit,    P.O. Box 2952,     Sacramento, CA 95812-2952
cr             +E-mail/Text: bnc@bass-associates.com Apr 04 2018 02:36:17        Capital One, N.A.,
                 Bass & Associates, P.C.,    3936 E. Ft. Lowell Road, Suite #200,     Tucson, AZ 85712-1083
13330864       +E-mail/Text: bnc@bass-associates.com Apr 04 2018 02:36:17        Capital One, N.A.,
                 c/o Bass & Associates, P.C.,    3936 E. Ft. Lowell Road, Suite #200,     Tucson, AZ 85712-1083
13279347       +E-mail/Text: bncmail@w-legal.com Apr 04 2018 02:38:03        Cerastes, Llc,
                 C O Weinstein And Riley, Ps,    2001 Western Avenue, Ste 400,     Seattle, WA 98121-3132
13162394       +E-mail/Text: cst.bankruptcy@chase.com Apr 04 2018 02:39:10        Chase,    Po Box 7013,
                 Indianapolis, IN 46207-7013
13162397       +E-mail/Text: electronicbkydocs@nelnet.net Apr 04 2018 02:37:51        Dept Of Education/neln,
                 121 S 13th St,    Lincoln, NE 68508-1904
13173085        E-mail/Text: mrdiscen@discover.com Apr 04 2018 02:36:20        Discover Bank,
                 DB Servicing Corporation,    PO Box 3025,    New Albany, OH 43054-3025
13162398       +E-mail/Text: mrdiscen@discover.com Apr 04 2018 02:36:20        Discover Fin Svcs Llc,
                 Po Box 15316,   Wilmington, DE 19850-5316
13162399        E-mail/Text: BKBNCNotices@ftb.ca.gov Apr 04 2018 02:39:16        Franchise Tax Board,
                 Attn: Sharon Jones,    1515 Clay Street,    Suite 3N-305,    Oakland, CA 94612-1431
13162400       +E-mail/PDF: gecsedi@recoverycorp.com Apr 04 2018 02:32:37        Gemb/Mens Wearhouse,
                 Attn: bankruptcy,    Po Box 103104,   Roswell, GA 30076-9104
13162403       +E-mail/Text: cio.bncmail@irs.gov Apr 04 2018 02:37:01        Internal Revenue Service,
                 2970 Market Street,    Mail Stop 5-Q30.133,    Philadelphia, PA 19104-5002
13162404       +E-mail/Text: electronicbkydocs@nelnet.net Apr 04 2018 02:37:51        Nelnet Loan Services,
                 3015 S. Parker Road,    Suite 425,   Aurora, CO 80014-2904
13217506       +E-mail/Text: electronicbkydocs@nelnet.net Apr 04 2018 02:37:51
                 Nelnet on behalf of the U.S. Dept. of ED,     3015 South Parker Road, Suite 400,
                 Aurora, CO 80014-2904
13300690        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Apr 04 2018 02:52:16
                 Portfolio Recovery Associates, LLC,    POB 41067,    Norfolk, VA 23541
       Case: 13-41687        Doc# 40     Filed: 04/05/18     Entered: 04/05/18 21:30:03         Page 1 of 4
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                                      Form ID: pdfntcal                  Total Noticed: 44


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
13280196        E-mail/Text: bnc-quantum@quantum3group.com Apr 04 2018 02:37:31
                 Quantum3 Group LLC as agent for,   MOMA Funding LLC,   PO Box 788,   Kirkland, WA 98083-0788
13681899       +E-mail/Text: bnc@bass-associates.com Apr 04 2018 02:36:18     eCAST Settlement Corporation,
                 c/o Bass & Associates, P.C.,   3936 E Ft. Lowell, Suite 200,   Tucson, AZ 85712-1083
                                                                                            TOTAL: 17

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Wells Fargo Bank, N.A.,,   Pite Duncan, LLP,    c/o Catherine T. Vinh,
                   4375 Jutland Drive, Suite 200,    P.O. Box 17933,   San Diego, CA 92177-7921
cr*               eCAST Settlement Corporation,    POB 29262,   New York, NY 10087-9262
13162406*       ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
                 (address filed with court: Unvl/citi,     Attn.: Centralized Bankruptcy,    Po Box 20507,
                   Kansas City, MO 64195)
13298960*        +Cerastes, Llc,   C O Weinstein And Riley, Ps,    2001 Western Avenue, Ste 400,
                   Seattle, WA 98121-3132
13162402*         Internal Revenue Service,   PO Box 7346,    Philadelphia, PA 19101-7346
                                                                                               TOTALS: 0, * 5, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 05, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 3, 2018 at the address(es) listed below:
              Alane A. Becket    on behalf of Creditor   eCAST Settlement Corporation notices@becket-lee.com
              Catherine T. Vinh    on behalf of Creditor   Wells Fargo Bank, N.A., cvinh@piteduncan.com,
               ecfcanb@piteduncan.com
              Jennifer Pursley     on behalf of Creditor   eCAST Settlement Corporation ecf@bass-associates.com
              Joan M. Grimes    on behalf of Joint Debtor Kathryn Kaye Green joangrimeslaw@gmail.com,
               grimesecf@gmail.com
              Joan M. Grimes    on behalf of Debtor Eric Robert Green joangrimeslaw@gmail.com,
               grimesecf@gmail.com
              Martha G. Bronitsky    13trustee@oak13.com
              Office of the U.S. Trustee/Oak    USTPRegion17.OA.ECF@usdoj.gov
                                                                                             TOTAL: 7




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